GRANT F. LANGLEY                                                                                                   STUART S. MUKAMAL
City Attorney                                                                                                      THOMAS J. BEAMISH
                                                                                                                   MAURITA F. HOUREN
VINCENT D. MOSCHELLA                                                                                               JOHN J. HEINEN
                                                                                                                   SUSAN E. LAPPEN
MIRIAM R.1032-2014-3186
            HORWITZ                                                                                                JAN A. SMOKOWICZ
ADAM B. STEPHENS                                                                                                   PATRICIA A. FRICKER
MARY L. SCHANNING                                                                                                  HEIDI WICK SPOERL
Deputy City Attorneys                                                                                              KURT A. BEHLING
                                                                                                                   GREGG C. HAGOPIAN
                                                                                                                   ELLEN H. TANGEN
                                                                                                                   JAY A. UNORA
                                                                                                                   KATHRYN Z. BLOCK
                         Milwaukee City Hall Suite 800200 East Wells StreetMilwaukee, Wisconsin 53202-3551   KEVIN P. SULLIVAN
                                  Telephone: 414.286.2601TDD: 414.286.2025Fax: 414.286.8550                  THOMAS D. MILLER
                                                                                                                   JARELY M. RUIZ
                                                                                                                   ROBIN A. PEDERSON
                                                                                                                   JEREMY R. MCKENZIE
                                                                                                                   PETER J. BLOCK
          May 4, 2016                                                                                              NICHOLAS P. DESIATO
                                                                                                                   JOANNA GIBELEV
                                                                                                                   JENNY YUAN
                                                                                                                   KAIL J. DECKER
                                                                                                                   ALLISON N. FLANAGAN
                                                                                                                   LA KEISHA W. BUTLER
                                                                                                                   PATRICK J. LEIGL
          Hon. Pamela Pepper                                                                                       HEATHER H. HOUGH
                                                                                                                   ANDREA J. FOWLER
          U.S. District Judge                                                                                      PATRICK J. MCCLAIN
                                                                                                                   NAOMI E. GEHLING
          Eastern District of Wisconsin                                                                            CALVIN V. FERMIN
                                                                                                                   BENJAMIN J. ROOVERS
          517 East Wisconsin Avenue                                                                                Assistant City Attorneys
          Milwaukee, WI 53202

          Re:    R.S., et al. v. City of Milwaukee, et al.
                 Case No. 14-C-1485

          Dear Judge Pepper:

          I write to request that the May 5, 2016 status conference currently scheduled in the
          above-referenced matter be removed from the court’s calendar in light of the joint
          motion for dismissal that was filed today. Thank you for your kind attention to this
          matter.

          Very truly yours,

          s/ Miriam R. Horwitz

          MIRIAM R. HORWITZ
          Deputy City Attorney

          MRH:lmb
          1032-2014-3186:228112




                Case 2:14-cv-01485-PP Filed 05/04/16 Page 1 of 1 Document 33
